Case 23-11283-pmm            Doc 24
                                  Filed 07/20/23 Entered 07/20/23 11:19:46                          Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Samuel Delacruz                                                               CHAPTER 7
                                 Debtor(s)

Bank of America, N.A.
                                 Movant
                vs.                                                             NO. 23-11283 PMM

Samuel Delacruz
                                 Debtor(s)

Bonnie B. Finkel Esq.
                                 Trustee                                        11 U.S.C. Section 362

                            MOTION OF BANK OF AMERICA, N.A.
                          FOR RELIEF FROM THE AUTOMATIC STAY
                                   UNDER SECTION 362

         1.       Movant is Bank of America, N.A.

         2.       On May 01, 2023, Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy

 Code.

         3.       Movant is the holder of the Retail Installment Sale Contract Simple Finance Charge

 (“Contract”) signed by Debtor and correct copy of the Contract is attached hereto as Exhibit A.

         4.       Movant is secured under the Contract by properly perfected first lien security interest in a U

 2016 GMC YUKON, (“Vehicle”), bearing a VIN Number 1GKS2CKJ9GR212240. A copy of the Lien and

 Title Information Report is attached hereto as Exhibit B.

         5.       By virtue of the above, Movant is holder of a secured claim against Debtor.

         6.       Debtor is in default under the terms of the Contract by failing to make post-petition

 payments for the months of May 2023 through June 2023 in the amount of $756.00 each, less a partial

 payment balance of $88.39, for a total post-petition arrearage of $1,423.61 as of July 10, 2023.

         7.       As of July 10, 2023, the outstanding balance under the Contract is $28,069.85.

         8.       Per the JD Power Value Report, the fair market value of the Vehicle is $29,425.00. A copy

 of the JD Power Value Report is attached hereto as Exhibit C.
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         9.       Movant alleges that the automatic stay should be lifted for the cause pursuant to11 U.S.C.

Section 362 (d)(1) in that Movant lacks adequate protection of its interest in the Vehicle as evidenced by the

following:

         (a) Debtor defaulted under the terms of the Contract by failing to make post-petition installment

         payments when due and owing thereunder;

         (b) The Vehicle and the value of the Vehicle is in a state of decline and continues to decline and;

         WHEREFORE, Movant respectfully prays that, upon final hearing of this Motion (1) the automatic

stay will be terminated as to Movant to permit Movant to seek its statutory and other available remedies (2)

Movant be permitted to obtain possession of the Vehicle to the exclusion of Debtor (3) Movant be granted

such and other further relief, at law or in equity as it is just.



                                                             /s/ Michael P. Farrington
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                                                             Attorneys for Movant/Applicant
Dated: July 20, 2023
